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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                  §
 In re:                                                           §
                                                                  §     Joint Administration Pending Under
   L REIT, LTD., et al                                            §     Case No. (18-36881-H2-11)
                                     Debtors. 1                   §
                                                                  §


                              NOTICE OF DESIGNATION AS COMPLEX
                                CHAPTER 11 BANKRUPTCY CASE


        These bankruptcy cases were each filed on December 5, 2018. The undersigned party in
interest believes that these cases qualify as complex Chapter 11 cases because:

           X      The debtors have total debt of more than $10 million;

                  There are more than 50 parties in interest in these cases;

                  Claims against the debtor are publicly traded;

                 Other: (Substantial explanation is required. Attach additional sheets if
        necessary.)


Dated: December 5, 2018

                                     Respectfully submitted,

                                     HOOVER SLOVACEK LLP

                                     By: /s/ Edward L. Rothberg
                                     Edward L. Rothberg
                                     State Bar No. 17313990
                                     rothberg@hooverslovacek.com




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
are L Reit, Ltd (3481) and Beltway 7 Properties, Ltd (2869). The location of the Debtors’ service address is:7904 North
Sam Houston Parkway West, Houston, TX 77064.


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PROPOSED ATTORNEYS FOR DEBTORS and
DEBTORS IN POSSESSION




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